     Case 4:21-cv-00480-MW-MAF Document 14 Filed 03/28/22 Page 1 of 17




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA

                     CASE NO. 4:21-cv-00480-MW-MAF


KAREN LUCKADO,

      Plaintiff,

v.

EL SHADDAI MOTEL GROUP, LLC, a Florida
limited liability company; HERON HOUSE
APARTMENTS OF STEINHATCHEE, LLC, a
Florida limited liability company; PRETORIUS
FAMILY, LLC, a Florida limited liability
Company; SUSANNA CREAMER a/k/a SUSAN
PRICE, an individual; FLOYD E. CREAMER,
an individual, and MARCELO CUNHA, an
individual,

     Defendants.
______________________________________/

 PLAINTIFF’S MOTION TO COMPEL INTERROGATORY RESPONSES
             FROM DEFENDANTS, SUSAN CREAMER,
           FLOYD CREAMER AND MARCELO CUNHA

      The Plaintiff, by and through undersigned counsel and pursuant to Rules 26,

33, 34 and 37 Fed.R.Civ.P., files this Motion to Compel Interrogatory Responses

from Defendants, SUSAN CREAMER, FLOYD CREAMER and MARCELO

CUNHA, and states as follows:
     Case 4:21-cv-00480-MW-MAF Document 14 Filed 03/28/22 Page 2 of 17




I.    BACKGROUND

      The Plaintiff’s case arises under the Fair Labor Standards Act (“FLSA”), 29

U.S.C. §201 et seq. for unpaid minimum and overtime wages. See Complaint (ECF

No. 1). The Plaintiff has also brought a claim for minimum wages under the Florida

Constitution’s Minimum Wage Amendment (“FMWA”), Art. X §24 Fla. Const. Id.

From about February 1, 2018 to about October 15, 2021, the Plaintiff was employed

by the Defendants at their various inns/rental properties. Complaint at ¶12. Despite

working seven days per week, the Defendants paid the Plaintiff $100.00 per week.

Id. at ¶¶24-25.

      On January 19, 2022, the Plaintiff served Defendants Susan Creamer, Floyd

Creamer and Marcelo Cunha with a First Set of Interrogatories, respectively. Susan

Creamer, Floyd Creamer and Marcelo Cunha served their Answers to

Interrogatories, respectively, on February 25, 2022. The subject discovery discussed

infra, is attached as follows:

1.    Interrogatories to Susan Creamer                    (attached as Exhibit 1);

2.    Answers to Interrogatories by Susan Creamer         (attached as Exhibit 2);

3.    Interrogatories to Floyd Creamer                    (attached as Exhibit 3);

4.    Answers to Interrogatories by Floyd Creamer         (attached as Exhibit 4);

5.    Interrogatories to Marcelo Cunha                    (attached as Exhibit 5);
                                         2
       Case 4:21-cv-00480-MW-MAF Document 14 Filed 03/28/22 Page 3 of 17




6.     Answers to Interrogatories by Marcelo Cunha           (attached as Exhibit 6);

II.    MEMORANDUM OF LAW

       Pursuant to Rule 33, Fed.R.Civ.P., the party upon whom interrogatories have

been served shall serve a copy of the answers, and objections if any, within 30 days

after the service of the interrogatories. Fed.R.Civ.P. 33(b)(2).        Rule 37(a)(3),

Fed.R.Civ.P. further provides that if a party fails to answer an interrogatory

submitted under Rule 33, the discovering party may move for an order compelling

an answer. A movant may seek the expenses associated with filing the motion to

compel pursuant to Rule 37(a)(5).

       Ultimately, Susan Creamer, Floyd Creamer and Marcelo Cunha have raised

meritless, nearly identical boilerplate objections. Because such little effort went into

responding, the Plaintiff seeks attorneys’ fees, infra.


III.   INTERROGATORIES TO SUSAN CREAMER

       The Plaintiff seeks to compel full and complete responses to Interrogatory #’s

1, 2, 3, 4 and 6 (and without untimely objections) as follows:

 Interrogatory No. 1:
 What is your legal name (including middle names), home address, all other names
 or aliases that you have been known, and your date and place of birth.

 RESPONSE:


                                           3
     Case 4:21-cv-00480-MW-MAF Document 14 Filed 03/28/22 Page 4 of 17




       Susanna Creamer
       16148 SE Highway
       19 Cross City, FL
       32628

       6/18/1970
       South Africa

      Argument: The answer is deficient because the address provided is not a

home address, but a motel address for El Shaddei Motel Group. See Exhibit 7.

The Plaintiff is entitled to a home address. Under Federal Rule of Civil Procedure

26(a)(1)(A)(i),

      a party must, without awaiting a discovery request, provide to the other
      parties: (i) the name and, if known, the address and telephone number
      of each individual likely to have discoverable information—along with
      the subjects of that information—that the disclosing party may use to
      support its claims or defenses, unless the use would be solely for
      impeachment.

26(a)(1)(A)(i) Fed.R.Civ.P.       The requirements of Rule 26(a) are mandatory.
Altheim v. Geico Gen. Ins. Co., 2010 U.S. Dist. LEXIS 150256, at *2-3 (M.D. Fla.
May 17, 2010)(emphasis supplied). "The goal of the initial disclosure requirement
is to accelerate the exchange of basic information about the case." King v. City of
Waycross, Ga., No. 5:14-cv-32, 2015 U.S. Dist. LEXIS 124468, 2015 WL 5468646,
at *2 (S.D. Ga. Sept. 17, 2015) (citation omitted). "If a party fails to provide initial
disclosures, any other party may move to compel the disclosures and for appropriate
sanctions." Pedro-Mejia v. Franco Plastering Inc., No. 2:17-cv-452-FtM-99CM,
2018 U.S. Dist. LEXIS 29052, 2018 WL 1035844, at *3 (M.D. Fla. Feb. 23,

                                           4
       Case 4:21-cv-00480-MW-MAF Document 14 Filed 03/28/22 Page 5 of 17




2018) (citing Fed. R. Civ. P. 37(a)(3)); E-Professional Techs. LLC v. Primehealth of
Ill., Inc., 2020 U.S. Dist. LEXIS 122462, at *2-3 (M.D. Fla. July 14, 2020). In Van
Hoek v. McKesson Corp. the court held that:
         Moore's Federal Practice describes the disclosure requirement of Rule
         26(a)(1)(A)(i) as "the functional equivalent of standing court-ordered
         interrogatories," and further explains that "if some or all of the
         identified individuals are employees of the disclosing party, their home
         addresses and telephone numbers must be disclosed." 6 Moore's
         Federal Practice § 26.22(4)(a)(i). Furthermore, "[t]he disclosing party
         does not satisfy the initial disclosure obligation by providing only its
         business address and telephone number, even for employees with
         managerial responsibilities, unless the disclosing party knows no other
         address." Id. The disclosure obligation is also subject to a duty to
         supplement, under Rule 26(e)(1).

Van Hoek v. McKesson Corp. 2018 U.S. Dist. LEXIS 103880, at *2-3 (M.D. Fla.
June 21, 2018).1 “[A] party may not satisfy its Rule 26(a)(1) obligations simply by
disclosing its business address and phone number, unless it knows of no other
address and number.” See Thurby v. Encore Receivable Mgmt., 251 F.R.D. 620, 621
(D. Colo. 2008). See also, Fausto v. Credigy Servs. Corp., 251 F.R.D. 427 (N.D.
Cal. 2008)(same); Dixon v. Certainteed Corp., 164 F.R.D. 685, 689 (D. Kan.
1996)(finding that a company does not meet its Rule 26 obligations for its employees
by merely providing its business address and phone number, unless it knows of no
other address and number).
         Based on the foregoing, Susan Creamer should provide her home address.


         1
          The Van Hoek court held that “personal contact information such as home addresses and telephone numbers
usually are not considered private because they are regularly disclosed to friends, relatives, companies, schools, and
the like, and may be needed by opposing party to conduct thorough background investigations of the
witnesses)(citation omitted); see also Castle v. Sangamo Weston, Inc., 744 F.2d 1464, 1467 (11th Cir. 1984) (holding
that names and contact information of witnesses are non-privileged information and are discoverable). Moreover,

                                                          5
    Case 4:21-cv-00480-MW-MAF Document 14 Filed 03/28/22 Page 6 of 17




Interrogatory No. 2:
Please state whether Plaintiff performed any work or services for any company or
business entity which you owned, managed, operated, oversaw, were a
shareholder, member, or had an equitable, legal or financial interest. If so, identify
each such entity, the Plaintiffs dates of work, her work hours, and the amounts she
was paid.

RESPONSE: Plaintiff worked at Heron House Apartments of
Steinhatchee, LLC. Her main duties were to clean apartments after guests
vacated. She was paid the equivalent of $350/week in furnished housing,
$100/week cash, plus an average of $75 per week depending on her
cleaning activities that week.

                   Argument: The answer is ambiguous because it only speaks

     about Plaintiff’s work at Heron House (even though the question asks about

     any work Plaintiff performed for Defendants or any other entities). The

     Plaintiff alleges to have worked at the Defendants’ multiple inns. Complaint

     at ¶12.

            Second, the answer is also not responsive because, inter alia, Susan

     Creamer fails to provide the number of hours Plaintiff worked or even the

     dates of her work. This is the most basic discovery in an FLSA case, yet

     Heron House fails to provide a straight answer. Third, the answer talks about

     Plaintiff’s “main duties,” however this is vague and ambiguous, particularly

     where the Plaintiff has served discovery responses showing being the

     principal person handling “Airbnb” bookings for lodging. See, e.g., Plaintiff’s
                                          6
    Case 4:21-cv-00480-MW-MAF Document 14 Filed 03/28/22 Page 7 of 17




     Texts (Plf. Bates 0013 to 0077), attached as Exhibit 8. There is considerable

     evidence showing Plaintiff’s work went way beyond just cleaning, see id.,

     thereby making the interrogatory answer, incomplete. Fourth, it is also vague

     and ambiguous the phrases “equivalent” and “average”. The Plaintiff has no

     idea what this means. Ultimately, if Susan Creamer does not know the answer

     to the question, she should come out and say it, rather than provide an

     ambiguous response. Notably, Susan Cramer has not raised an objection.

     Thus, it should be required to answer all the subparts pursuant to Rule 37.


Interrogatory No. 3:
Identify any money, compensation or thing of value which you received from any
other Defendant from 2017 to the present. For each instance, identify the payor,
the amount, date, the reason for each payment, and how each payment was
calculated.

RESPONSE: Defendant objects to this request on the grounds that it
seeks irrelevant information and is not proportional to the needs of the
case.

           Argument: The response is nothing more than a boilerplate objection,

   and therefore, must be rejected by the Court. See Local Rule 26.1(C) (N.D.

   Fla.)(“Boilerplate objections are strongly disfavored.”). Susan Creamer was

   the owner and operator of the Defendant companies and oversaw the

   Plaintiff’s work.    See Complaint at ¶¶29-30.        Her wage information

                                        7
        Case 4:21-cv-00480-MW-MAF Document 14 Filed 03/28/22 Page 8 of 17




        corresponds to, and creates a direct inference, about her high-level

        involvement for the multiple corporate Defendants, and especially the

        importance of her role and duties. Similarly, by determining “who was paying

        who” the Plaintiff can determine which of the Defendants was paying for the

        work she was doing across multiple properties. Similarly, by whom the

        individual Defendants were being paid, the Plaintiff will be able determine

        “employer” liability under the FLSA.2


    Interrogatory No. 4:
    From 2017 to the present, please state whether Plaintiff was given cash, directly or
    indirectly, from you or any other of the Defendants. If so, please identify whom; the
    date of each and every cash payment, the amount of every cash payment, the number
    of hours of work each cash payment was designed to cover, the business or financial
    institution from which each and every cash payment was obtained so payment could
    be made, the persons involved in delivering or in any way processing or handling
    each cash payment, whether the wages paid to Plaintiff were either identified or
    made part of your tax filings, and identify the creation date of each document
    reflecting cash payments made. Please identify all documents relied upon in
    responding.

2
  The FLSA creates a private right of action against any “employer” who violates its minimum
wage or overtime provisions. FLSA, 29 U.S.C. §216(b). “The Act defines the term “employer”
broadly to include “both the employer for whom the employee directly works as well as ‘any
person acting directly or indirectly in the interests of an employer in relation to an
employee.’” Lamonica v. Safe Hurricane Shutters, 711 F.2d 1229, 1309 (11th Cir. 2013) (citation
omitted) (determining that corporate supervisors other than officers may be personally liable under
the FLSA, and clarifying the degree and type of control that will support individual
liability). The FLSA contemplates imposing liability upon individuals. Lamonica, 711 F.2d at
1313. For an individual to qualify as an employer under the FLSA, he “must either be involved in
the day-to-day operation or have some direct responsibility for the supervision of the
employee.” Patel v. Wargo, 803 F2d 632, 638 (11th Cir. 1986). Here, the Plaintiff has served
discovery to determine the liability of the individual Defendants.
                                                8
     Case 4:21-cv-00480-MW-MAF Document 14 Filed 03/28/22 Page 9 of 17




 RESPONSE: See Defendant's response to Interrogatory No. 2.

      Argument:       The Plaintiff reincorporates her Argument as to Interrogatory

 # 2, supra. Nevertheless, Susan Creamer’s reincorporation of her answer to

 Interrogatory # 2 is not helpful because it does not answer the question posed in

 Interrogatory # 4 as to whether Plaintiff was given cash, who (directly or indirectly)

 gave her the cash, and the other information sought about the cash payments. The

 Defendant should be compelled to answer regarding the cash payments and fully

 answer the other subparts of Interrogatory # 4.

 Interrogatory No. 6:
 Did you ever communicate with the Plaintiff by text messaging, social media,
 email, web-based application ("app"), telephone or in person? If so, please identify
 your phone or cell carriers, phone numbers, the date of each communication and
 the substance of each communication.

 RESPONSE: Yes. Defendant will produce all communications in her
 possession, custody, or control.

      Argument: The Plaintiff’s counsel has called and emailed the Defendant’s

counsel multiple times to coordinate the data extraction from electronic devices,

including but not limited to cell phones. The Defendants have not produced all

responsive records (only some), and are not cooperating with undersigned’s efforts

to promptly send out the Defendants’ electronic devices to a professional for data
                                          9
       Case 4:21-cv-00480-MW-MAF Document 14 Filed 03/28/22 Page 10 of 17




extraction. 3 The Defendant should be compelled to produce all cell phone, texting

and other electronic communications and fully cooperate with efforts to extract such

data.


IV.      INTERROGATORIES TO FLOYD CREAMER


         The Plaintiff seeks to compel full and complete responses to Floyd Creamer’s

Interrogatory #’s 1, 3, 4 and 5 (and without untimely objections) as follows:

    Interrogatory No. 1:
    What is your legal name (including middle names), home address, all other names
    or aliases that you have been known, and your date and place of birth.

         RESPONSE: Defendant objects to this request as date and place of birth
         are not information that is pertinent to this action. Without waiving
         objections defendant states:

               Floyd Creamer
               c/o Ashwin Trehan,
               Esq. SPIRE LAW, LC
               2572 W. State Road 426, Suite 2088
               Oviedo, Florida 32765

               Argument: The answer fails to provide a date and place of birth. It

is also not sufficient for Floyd Creamer to refuse to provide his home address. See

Plaintiff’s Argument as to Interrogatory 1 for Susan Creamer (Section III). Floyd


3
 There is more electronic data than anticipated, initially. The Plaintiff has offered to send out
her phone for data extraction as well. Yet, despite efforts to work collectively so all electronic
data can be provided the Defendants have stonewalled.
                                                 10
    Case 4:21-cv-00480-MW-MAF Document 14 Filed 03/28/22 Page 11 of 17




Creamer should compelled to answer fully and completely.


 Interrogatory No. 3:
 Identify any money, compensation or thing of value which you received from any
 other Defendant from 2017 to the present. For each instance, identify the payor,
 the amount, date, the reason for each payment, and how each payment was
 calculated.

 RESPONSE: Defendant objects to this request on the grounds that it seeks
 irrelevant information and is not proportional to the needs of the case.

      Argument: The Plaintiff reincorporates the same Argument as set forth in

      Interrogatory # 3 for Susan Creamer, supra (Section III).


 Interrogatory No. 4:
 From 2017 to the present, please state whether Plaintiff was given cash, directly or
 indirectly, from you or any other of the Defendants. Is so, please identify whom; the
 date of each and every cash payment, the amount of every cash payment, the number
 of hours of work each cash payment was designed to cover, the business or financial
 institution from which each and every cash payment was obtained so payment could
 be made, the persons involved in delivering or in any way processing or handling
 each cash payment, whether the wages paid to Plaintiff were either identified or
 made part of your tax filings, and identify the creation date of each document
 reflecting cash payments made. Please identify all documents relied upon in
 responding.

 RESPONSE: Defendant objects to this request on the grounds that it
 seeks irrelevant information and is not proportional to the needs of the
 case. Additionally, Defendant cannot answer on behalf of other
 Defendants.

      Argument: The Plaintiff reincorporates the same Argument as set forth in

      Interrogatory # 4 for Susan Creamer, supra.
                                         11
     Case 4:21-cv-00480-MW-MAF Document 14 Filed 03/28/22 Page 12 of 17




 Interrogatory No. 5:
 Please describe in detail, your duties, responsibilities, work or involvement, if any,
 did you have with Heron House, Riverside House, or any other Defendant in this
 case.

 RESPONSE: I have an ownership interest in Pretorious Family, LLC [sic],
 but am not involved in operations.

                    Argument: The answer is ambiguous insofar as whether Floyd

      Creamer had ownership or any involvement with defendants other than

      Defendant, Pretorius Family, LLC. To the extent that Floyd Creamer has an

      ownership interest in Pretorius Family, LLC, he fails to “describe in detail,”

      his “duties, responsibilities, work or involvement.”



V.    INTERROGATORIES TO MARCELO CUNHA


      The Plaintiff seeks to compel full and complete responses to Marcelo Cunha’s

Interrogatory #’s 1, 2, 3, 4 and 5 (and without untimely objections) as follows:

 Interrogatory No. 1:
 What is your legal name (including middle names), home address, all other
 names or aliases that you have been known, and your date and place of birth.

 RESPONSE: Defendant objects to this request as date and place of birth are
 not information that is pertinent to this action. Without waiving objections,
 defendant states:

       Marcelo Cunha
                                          12
     Case 4:21-cv-00480-MW-MAF Document 14 Filed 03/28/22 Page 13 of 17




       c/o Ashwin Trehan, Esq.
       SPIRE LAW, LLC
       2572 W. State Road 426, Suite 2088
       Oviedo, Florida 32765

             Argument: Because Defendant Marcelo Cunha has failed to provide

his home address, date of birth, and location of birth, the Plaintiff reincorporates his

arguments as to Interrogatory # 1 for Susan Creamer (Section III).


 Interrogatory No. 2:
 Please state whether Plaintiff performed any work or services for any company or
 business entity which you owned, managed, operated, oversaw, were a
 shareholder, member, or had an equitable, legal or financial interest. If so, identify
 each such entity, the Plaintiffs dates of work, her work hours, and the amounts
 she was paid.

 RESPONSE: My understanding is that Plaintiff worked at Heron House.

      Argument: Marcelo Cunha’s response is vague and ambiguous insofar as his

“understanding” about the identified matters. The Interrogatory is as “yes” or “no”

question. The answer is also ambiguous because it fails to state whether the Plaintiff

performed work for other Defendants besides Heron House. Finally, to the extent

that Marcelo Cunha has identified “Heron House” as a place where the Plaintiff

worked, he fails to state her “dates of work, her work hours, and the amounts she

was paid.”


 Interrogatory No. 3:
                                          13
    Case 4:21-cv-00480-MW-MAF Document 14 Filed 03/28/22 Page 14 of 17




 Identify any money, compensation or thing of value which you received from
 any other Defendant from 2017 to the present. For each instance, identify the
 payor, the amount, date, the reason for each payment, and how each payment
 was calculated.

 RESPONSE: Defendant objects to this request on the grounds that it seeks
 irrelevant information and is not proportional to the needs of the case.

      Argument: Due to the boilerplate objection, the Plaintiff reincorporates the

      same Argument as set forth in Interrogatory # 3 for Susan Creamer, supra

      (Section III).


 Interrogatory No. 4:
 From 2017 to the present, please state whether Plaintiff was given cash, directly
 or indirectly, from you or any other of the Defendants. Is so, please identify whom;
 the date of each and every cash payment, the amount of every cash payment, the
 number of hours of work each cash payment was designed to cover, the business or
 financial institution from which each and every cash payment was obtained so
 payment could be made, the persons involved in delivering or in any way
 processing or handling each cash payment, whether the wages paid to Plaintiff were
 either identified or made part of your tax filings, and identify the creation date of
 each document reflecting cash payments made. Please identify all documents relied
 upon in responding.

 RESPONSE: I did not provide cash to Plaintiff. I cannot answer on behalf of
 other Defendants.


             Argument: The response is vague and ambiguous. The Plaintiff is not

asking Marcelo Cunha to answer for the other Defendants, but if he knows whether

the other Defendants gave cash to the Plaintiff (either directly or indirectly) he must

                                          14
    Case 4:21-cv-00480-MW-MAF Document 14 Filed 03/28/22 Page 15 of 17




answer the question. Moreover, as no objection is raised, if he knows whether the

other Defendants did or did not pay cash (either directly or indirectly) he must be

required to respond to the remaining interrogatory subparts.


 Interrogatory No. 5:
 Please describe in detail, your duties, responsibilities, work or involvement, if any,
 did you have with Heron House, Riverside House, or any other Defendant in this
 case.

 RESPONSE: I have no ownership interest in Heron House Apartments of
 Steinhatchee, LLC. I do not have work responsibilities there or with any other
 Defendant.

             Argument: The answer is vague and ambiguous insofar as whether

Defendant Cunha had an ownership or other interest in companies/defendants other

than Heron House of Steinhatchee, LLC. Moreover, although Marcelo Cunha claims

to have had no “work responsibilities” with that specific entity or the other

Defendants, it is vague and ambiguous whether he had “duties, responsibilities . . .

or involvement” with any of the other Defendants. This is particularly true when

Cunha answers the question in the negative—stating the ownership interests he

doesn’t have, rather than the ones he does.

      VI.    ATTORNEY’S FEES

      The Plaintiff is seeking fees under Rule 37 Fed.R.Civ.P. The Plaintiff served

reasonable discovery on Susan Creamer, Floyd Creamer and Marcelo Cunha, yet
                                          15
     Case 4:21-cv-00480-MW-MAF Document 14 Filed 03/28/22 Page 16 of 17




adequate responses have not been received. The Plaintiff spent 3.3 hours drafting the

Motion and seeks $1,640.00 in attorneys’ fees (4.1hours x $400 lodestar rate =

$1,320).

      WHEREFORE, the Plaintiff seeks an Order (a) compelling Defendant Susan

Creamer to supplement and provide full and complete responses (without objections)

to Interrogatories 1, 2, 3, 4 and 6; (b) compelling Defendant Floyd Creamer to

supplement and provide full and complete responses (without objections) to

Interrogatory #’s 1, 3, 4 and 5; (c) compelling Defendant Marcelo Cunha to

supplement and provide full and complete responses (without objections) to

Interrogatory #’s 1, 2, 3, 4 and 5; (d) award Plaintiff $1,640.00 in attorneys' fees and

costs, (c) and grant all other relief deemed appropriate.

               CERTIFICATE OF GOOD FAITH CONFERRAL

      As set forth herein, the Plaintiff contacted the defense counsel by telephone

and email regarding the deficiencies, herein. In addition, the Plaintiff sent the

Defendant a detailed list of the discovery deficiencies so there would be no

ambiguity. Despite attempting to work with the Defendant to resolve the dispute,

the Plaintiff was unable to do so. Defendants, Susan Creamer, Floyd Creamer and

Marcelo Cunha would not agree to supplement their discovery responses, herein.



                                          16
        Case 4:21-cv-00480-MW-MAF Document 14 Filed 03/28/22 Page 17 of 17




                                         By: s/. Peter Bober, Esq.
                                         FBN: 0122955
                                         Respectfully submitted,

                                         BOBER & BOBER, P.A.
                                         Attorney for Plaintiff
                                         2699 Stirling Road, Suite-A304
                                         Hollywood, FL 33312
                                         (954) 922-2298 (phone)
                                         (954) 922-5455 (fax)
                                         peter@boberlaw.com

                                         By: s/. Peter Bober, Esq.
                                         FBN: 0122955



                              CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing was served via

email on March 28, 2022 on all counsel or parties of record on the attached service

list.

                                                /s/. Peter J. Bober

                                         SERVICE LIST

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Counsel for Defendants


                                           17
